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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UMG RECORDINGS, INC., et al.,

 

Plaintiff,
Vv. CASE NO. 8:19-cv-710-T-35TGW |
BRIGHT HOUSE
NETWORKS, LLC,
Defendant.
/
ORDER

THIS CAUSE came on for consideration upon the Motion to

File Under Seal Pursuant to Stipulated Protective Order (Doc. 161).

| Because there is a common law right to access to judicial
records, Nixon v. Warner Communications, 435 U.S. 589, 587 (1978), and
the filing of documents under seal is administratively burdensome, the -
sealing of court documents is to be done sparingly. Local Rule 1.09
contemplates that, in order to have the materials sealed, the movant will |
make a showing of a compelling justification. Indeed, the movant recognizes
the Stipulated Protective Order requires “a showing of particularized need”
(Doc. 58, 415).

The movant offers as justification that “Plaintiffs and third-_
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party MarkMonitor have designated the documents as either Highly
Confidential-Attorneys’ Eyes Only or Confidential” (Doc. 161, 96). The
movant adds that it “takes no position on whether the contents of these
documents are confidential” (id.).

The parties’ conclusory designations of confidentiality are
clearly insufficient to warrant this relief, especially since, in my experience,
businesses are overzealous in characterizing business information as
confidential that does not warrant sealing under the court’s rules. Therefore,
a greater explanation is necessary to show that the requested exhibits are
appropriately sealed.

It is, therefore, upon consideration

ORDERED:

That the Motion to File Under Seal Pursuant to Stipulated
Protective Order (Doc. 161) is DENIED without PREJUDICE.

DONE and ORDERED at Tampa, Florida, this 28 ay of

August, 2020. Dre. y Vien

THOMAS G. WILSON
UNITED STATES MAGISTRATE JUDGE

 
